6/8/22, 4:17 PM                                                                Stephenson County, IL | Case History

S tephenson C
Stephenson    o u n t y , IIL
            County,         L
                  NOTICE: By clicking the 'Search' button below, or otherwise using the Judici.com website, you are agreeing to abide by its terms of use.


 My: Cases | Schedule | Filings | Account                                                                                                             Login
  2021DT104 CARTER, RASHAUN T                                                     Last Search | Information | Dispositions | History | Payments | Fines & Fees
  Date        Entry                                                                                                                                          Judge
  Entered Under: CARTER, RASHAUN T
  06/02/2022 Defendant present early w/Atty James; ASA Lennon-Rios present for state; cause comes on for pre-trial; defense motion                           JMH
             to continue; motion granted; case is continued.
             Pre-trial reset to 07/07/2022 at 9:00 in courtroom 1.
  04/21/2022 Defendant not present; Atty james present for defendant; ASA Madigan present for state; cause comes on for pre-trial;                           JMH
             defense motion to conitnue; motion granted; case is continued.
  04/21/2022 Pre-trial set for 06/02/2022 at 1:30 in courtroom 1.                                                                                            UNASSIGNED
  03/17/2022 Defendant not present; Atty James present for Defense; AS Vogt                                                                                  JMH
             present for State; cause comes on early for PT (am); Defendant motion to continue; motion granted; case continued.
             Pre-trial reset to 04/21/2022 at 1:30 in courtroom 1.
  01/06/2022 WARNING TO MOTORIST/LAW ENFORCEMENT SWORN REPORT                                                                                                JMH
             Defenant present w/Atty James; ASA Lennon-Rios present for state; cause comes on for pre-trial; by agreement SSS is
             recinded; see
             order; defendant ordered to do SCRAM monitoring; see order; by agreement case is continued.
             ORDER(SSS RECIND)
             ORDER(SCRAM)
             Pre-trial set for 03/17/2022 at 1:30 in courtroom 1.
  12/30/2021 Defendant not present; Atty James present; ASA Lennon-Rios present                                                                              JMH
             for state; cause comes on for SSS hearing; defense motion to waive
             the 30 day; defense motion to continue; motion granted; case is continued; Atty James to notify.
  12/30/2021 Pre-trial set for 01/06/2022 at 1:30 in courtroom 1.                                                                                            UNASSIGNED
  12/21/2021 Defendant present w/Atty James; ASA Lennon-Rios present for state; cause comes on for SSS hearing; defense motion                               JMH
             to continue; motion granted; case is continued.
             SSS hearing set for 12/30/2021 at 1:30 in courtroom 1.
  12/10/2021 Defendant present w/Atty James; ASA Lennon-Rios present for State; cause comes on for SSS hearing; State has not                                JMH
             recieved notice of the hearing for SSS; Defense enters motion to set for hearing and for
             time to keep running on state's time; State to turn over discovery; case continued for SSS hearing.
  12/10/2021 SSS hearing set for 12/21/2021 at 1:30 in courtroom 1.                                                                                          UNASSIGNED
  11/23/2021 [Impounded]                                                                                                                                     UNASSIGNED
  11/23/2021 [Impounded]                                                                                                                                     UNASSIGNED
  11/23/2021 [Impounded]                                                                                                                                     UNASSIGNED
  11/23/2021 [Impounded]                                                                                                                                     UNASSIGNED
  11/23/2021 SSS hearing set for 12/10/2021 at 1:30 in courtroom 1.                                                                                          UNASSIGNED
  11/19/2021 Defendant present pro se; ASA Lennon-Rios present for State; cause comes on for first appearance; complaint read;                               JMH
             rights explained; Defendant to retain private counsel; by agreement case continued for appearance w/counsel.
  11/19/2021 Appearance/counsel set for 12/17/2021 at 9:00 in courtroom 1.                                                                                   JMH
  11/01/2021 CONFIRMATION OF STATUTORY SUMMARY SUSPENSION                                                                                                    UNASSIGNED
  10/19/2021 Complaint filed on 10/19/2021.                                                                                                                  UNASSIGNED
             APPEARANCE BOND
             First appearance set for 11/19/2021 at 9:00 in courtroom 1.
             Bond of $300.00 posted on 10/19/2021.



                                                  For questions or comments about this web site, please see our Contacts Page.
                                                                          Terms of use | Privacy policy
                                                                              Advertise on Judici.
                                                                         Copyright © 2002-2022 Judici
                                                               Last modified: 2022/04/08 12:36 Version: 3.9.0.515

                                                                                                                                                      Government
                                                                                                                                                        Exhibit
                                                                                                                                                           2
                                                                                                                                                            Case
                                                                                                                                                        22-CR-01021




https://www.judici.com/courts/cases/case_history.jsp?court=IL089015J&ocl=IL089015J,2021DT104,IL089015JL2021DT104D1                                                    1/1
                              ILLINOIS CIT • ...,
                                      ILLINOIS
                                                                 AND COMPLAINT
                                                                TE POLICE
                                                                                                                 36500590                                       Read These Instructions Carefully
                                                                                                                                            Your t icket has been marked Z]COURT APPEARANCE
                                                                                 DCN·                                                       REQUIRED. You are required to come to court on the date, lime,

         1111111 111111!1111111 11111111111111111111 11111111                                            COMPLAINT                          and place noted in the COURT PLACE/DATE section on the t icket.

                                                      ISP Dist 0cc.                              ISP DISI Assign.
                                                                                                                                            However, if you want to plead "NOT G UILTY'', complete the portion
                                                       16                                        16                                         of these instructions entitled "Avoid Multiple Court Appearances"
                                                                              Township of                               _:j   TWP RD        and mail to the Clerk of the circuit court identified in the COURT
                                                                              ERIN TWP                                                      PLACE/ DATE sec t ion.


                                                                                             STATE OF ILLINOIS                         VS
                                                                                                              SID#


                                                            RASHAUN                                           T
                                                            FIRST                                             MIDDLE NAME
                                                                                             EYES                        '.J Female
                                                                        Apt                  BROWN                       ::;:;J Mate
                                                                                             HAIR             HEIGHT     WEIGHT
                                                            IL        60140                  BLK              5' 11"     275 LBS
                                                 STATE           COL          EXPIR DATE                      DCB
                                                 IL              N                   /2026                           /1977

The Undersigned states that on                            10/ 15/2021               at 11 :36 PM
defendant d id unlawfully operate:
        REG NO                                                            STATE       MO/YEAR            US DOT#
        CV78268                                                           IL          07/2022
        MAKE                                                                          YEAR               COLOR
        LINCOLN                                                                       2012               BLACK
                                                                                                                                                             Method of Release - Failure to Appear
                                                                                                                                            The method of release ts noted In the "Release" section The result of your
        TYPE                                                              VEHICLE USE:                                                      failure to appear or pay this ticket Is determined by the method of release
        PASSENGER CAR                                                     COMMERCIAL MOTOR VEHICLE                   YES LJ NO @            identified below and whether your ticket Is marked "Court Appearance
                                                                          PLACARDED HAZ. MATERIAL                    YES  LJNO ;gj          Required" or "No Court Appearance Required" and may result in either a
                                                                          18 OR MORE PASS. VEHICLE                   YES    NO :            judgment of convIct1on being entered against you for fine penalties,
                                                                                                                                            assessments, and costs as provided in the NOTICE OF CONSENT FOR
Or as a Pedestrian or Passenger, and upon a public highway, or other location, Specifically                                                 ENTRY OF JUDGMENT, or, the court may order other consequences
                                                                                                                                            identified below
  US 20 EB EAST OF BRIDGE ROAD

located ;, the Cotny aod State Aforesiid ;ind Did Thtn and There Commit the FoHowb'lg Offense
        SJ ILCS
z

3 ..
0                                              Act    5                   Section

                               ~ L - 1ST OR-2Ne-0FFENS-~ - - -
0
5                                      '("£ c.. tc-- u2 ~ r                          c\ "" •~
1- ACCIDENT TYPE:
z
w       ReportNo       16-21 --00618                                 CADNo 16-21--000 12568
0
u         ViS1b1hty CLEAR, NIGHT                          Road Conditions· DRY                                                                                                      IF □         [L     fe     [Q)
z          Method      RADAR, MARKED                             Notations                                                                                                        STEPHEN:30N          COUNTY, IL

        METHOD OF RELEASE
        $2,500.00                                                             Total Bond/Ball Posted     ~$=0~,0~0~-----
w
en                                                                                                                                                                                    OCT 1 9 2021
<t 10% CASH BOND
w
....I
w
0:::
I WITHOUT ADMITTING GUILT, I promise to comply with the terms of this Ticket and Release



        Signat\Jre X
                                                                                                                                                                                    '?:JJ#,f
                                                                                                                                                                              CLERK OF THE CU ICUIT COURT
        CIRCUIT COURT LOCATION, DATE, AND TIME
  Q)

 iii'                       STEPHENSON COUNTY COURT
0• Court Location           15 NORTH GALENA AVENUE
a;                          FREEPORT                                                                     IL          61032
 0
 nJ •           11/19/2021                                                     9:00 AM
a:...                                                                  Time                                                                               Notice of Consent for Entry of Judgment
 ...
 ~
                                                                                                                                            If you were charged With an offense which does not require a court appearance, YOU ARE
                                                                                                                                            HEREBY NOTIFIED THAT

u
 0               :SJ COURT APPEARANCE                                                       REQUIRED                                        If you do not satisfy the charge(s) against you prior to the dare set for your appearance or
                                                                                                                                            any date to which th,e case ts continued, you do not submit a written plea of gullty to t he
                                               SEE INSTRUCTIONS In the column to the                ht
                                                                                                                                            clerk at least three (3) days before the date. and you fall to answer the charge{s) or appear
Under penalties as provided by law for false certification pursuant to Section 1-109 of the Code of                                         In court when required, you thereby consent to the entry of a judgment of conviction
Civtl Procedure and perjury pursuant to Section 32-2 of the Criminal Code or 2012, the                                                      against you In the amount of the statutory minimum fine plus the assessment In the
undersigned certifies that the statements set forth in this instrument are true and correct                                                 applicable schedule for the charged offense as provided In the Criminal and Traffic
                                                                                                                                            Assessment Act (705 ILCS 135/1 et seq) The to!:al amount assessed may be greater than
                                                                                                                                            the amount assessed on a guilty plea Any cash ball or other security you have deposited

10/15/2021                                                 JJ.c7_7~~                                                   7013
                                                                                                                                            will be applied toward payment 11 you are an Illinois Dnver and you fall to pay in full any
                                                                                                                                            judgments Imposed, a notice will be sent to the Secretary of State and your drivers license
                                                                                                                                            w111 not be renewed , retSsued, or reclassified, until ru11 payment is recerved
Month                 Day              Year     Otllcefs Signature D FILLIP                                            ID #
                                                                                                              36500591                                   [_Jd These Instructions Carefully

       IIHHHLLii·ir
                           ILLINOIS CITATION AND COMPL.f''T
                                                                                                                                     Your ticket hasWn marked @COURT APPEARANCE
                                                               POLICE      oc~~-C-OM-PLA----,INTI                                    REQUIRED. You are required to come to court on the date, time,
                                                                                                                                     and place noted in the COURT PLACE/DATE section on the ticket.

                                                ISP Dist 0cc                               ISP DfS\ Assign
                                                                                                                                     However, if you want lo plead "NOT GUILTY'', complete the portion
                                                 18                                        18                                        of these instructions entitled "Avoid Multiple Court Appearances"
•     County of                                                         Town,hip or                                _j    TWP RD      and mail to the Clerk of the circuit court identified in the COURT
      STEPHENSON                                                        ERIN TWP                                                     PLACE/DATE section.

      :~:-1 PEOPLE STATE
      ~OFILLINOIS                                                                      STATE OF ILLINOIS                        vs
                                                                                                          SID#



      CARTER                                           RASHAUN                                            T
      LAST                                             FIRST                                              MIDDLE NAME
                                                                                       EYES                            :J Female
                                                                 Apt.                  BROWN                           SJ Male
      Cll'Y STATE ZIP                                                                  HAIR           HEIGHT           WEIGHT

• HAMPSHIRE                                           IL       60140                   BLK            5' 11"           275 LBS
      DR. LIC.                             STATE           CDL          EXPIR. DATE                   D06
                                           IL              N                   /2026                             /1977

The Undersigned states that on 10/15/2021                                     at 11 :36 PM
defendant did unlawfully operate:
      REG NO                                                       STATE        MO/YEAR             US DOT #

      CV78268                                                      IL           07/2022
      MAKE                                                                      YEAR                COLOR
                                                                                                                                                      Method of Release - Failure to Appear
       LINCOLN                                                           2012                       BLACK
                                                                                                                                     The met hod of release is noted in the "Release" section The result of your
      1YPE                                                         VEHICLE USE:                                                      failure to appear or pay th,s ticket Is determined by t he method of release
       PASSENGER CAR                                                COMMERCIAL MOTOR VEHICLE                     YES                 identified below and whether your t icket ,s marked "Court Appearance
                                                                    PLACARDED HAZ MATERIAL                       YES                 Required" or "No Court Appearance Required " and may result in either a
                                                                                                                                     Iudgment of convIctIon bemg entered against you for fine, penalties.
                                                                    16 OR MORE PASS. VEHICLE                     YES
                                                                                                                                     assessments. and costs as provided in t he NOTIC E O F CONSENT FOR
Or as a Pedestrian or Passenger, and upon a public highway, or other location, Specifically                                          ENTRY O F JUDGMEN~ or, t he court may order other consequences
                                                                                                                                     identified below
 US 20 EB EAST OF BRIDGE ROAD
                                                                                                                                     BOND DEPOSITED ON COM PANION CASE (See RE LE ASE section on e-Citatio n)
lacattd in the County and State AfortHid ind Did Then and There Ccmmft the Following Offense
                                                                                                                                     The security which has been posted in a nothef ticket or document also covers this ticket
       SJ ILCS
                                          Act    5                  Section 11-501(a)(1)

 •    Nature of Offense     DUI . BAC .08 OR MORE . 1ST OFFENSE




      ACCIDENT TYPE:

       Report No     16-21-00618
         VIsibIlity CLEAR, NIGHT
          Method     RADAR, MARKED
                                                               CAD No

                                                     Road Condlt<ins

                                                            Notations
                                                                         16-21-00012568
                                                                         DRY
                                                                                                                                        I
                                                                                                                                          /-J~                       .n fL ffJ
                                                                                                                                                           s I t:PHENSON COUN TY, IL
                                                                                                                                                                                           [/J)



                                                                                                                                      I                         Il
      METHOO OF RELEASE
      $2,500.00

       BOND ON COMPANION CASE
                                                                        Total Bond/Bail Posted




                                                                                                                                      I
                                                                                                                                                     iL_ _9_202--Jj
                                                                                                                                                              OCT 1
      Companion C itation Number                0365000590
 ' W ITHO UT ADMITTING GUil T, I promise to comply wit h the terms of this Ticket and Release

      Signat ure X
                                                                                                                                     l.             c,
                                                                                                                                       - - -----. ~ F
                                                                                                                                                         ,""?2-,f/~~
                                                                                                                                                     _ THE _  __
                                                                                                                                                           cIncu1 T_ _ _ ___ _J
                                                                                                                                                                   COCRT
      CIRCUIT COURT LOCATION, DATE, AND TIME
                      STEPHENSON COUNTY COURT
 _: Court Location    15 NORTH GALENA AVENUE
                      FREEPORT                                                                       IL          61032
     • Date:   11/19/2021                Time: 9:00 AM                                                                                              Notice of Consent for Entry of Judgment
                                                                                                                                     If you v.ere charted with an offense which does not require a court ap pearance, YOU ARE
                                                                                                                                     HEREBY NOT IFIED THAT

                 SJ COURT APPEARANCE                                                  REQUIRED                                       If ·you do not satisfy the charge(s) against you p rior to the date set for your appearance or
                                                                                                                                     ar,y date to w h ich the case is contihu ed, you do not submh: a written plea of guilty to the
                                          SEE INSTRUCTIO NS in the col umn to the          r   ht                                    clerk at lea, t three (3) d ays before the d ate, and you f ail to answer t he cha rge(s) or appear
Under penalties as provided by law for false ce rtific ation pursuant to Section , _, 09 of t he Code of                             in c ourt when req Wred, you thereby consent ta the e ntry of a judgment o1 conviction
Civil Procedure and perjury pursuant to Section 3 2-2 of the Criminal Code of 2012, the                                              against you in ttie am ount of t he stat utory minimum fine plus the assessment in the
                                                                                                                                     appUcable sched ule for t he charg ed offense as provided in the Crim inal and Traffic
undersigned c ertifies that the statements set fo rth in this inst rument are true and correct
                                                                                                                                     Assessment Act (705 ILCS 135J 1 et seq_)_The t otal amount assessed may be g reater than
                                                                                                                                     t he amou nt asseS&ed on a guilty plea Any cas h bail or other security you have deposited

10/15/2021                                             jj~~,                                                       7013
                                                                                                                                     will be applied toward payment. It you are an Illinois Driver and you fail to pay in f ull any
                                                                                                                                     judg m ents imposed, a not ice w ill be sent to the Secretary of State an d yo ur driver's lk:ense
                                                                                                                                     will not be renewed_ reissued, or reclassified, u ntif fu ll pa~ment is rec elVed.
Mo nth               Day           Year    Officers S ig nature D FILLIP                                           ID#
                               STATE OF ILLINOIS
            IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL C[RCUIT
                             STEPHENSON COUNTY




PEOPLE OF THE STATE                                  )
OF ILLINOIS, OR                                      )
COUNTY OF STEPHENSON,                                )
                                                     )
                                                     )
                                                     )
                       V.                            )
                                                     )
                                                     )




           APPEARANCE, PLEA OF GUILTY AND WAIVER OF TRIAL ~ T S
                                                                              Ci'c;,, c,,·'-:!:   ~
                                                                                              CiPcu;t C-8...,R:'

I, the undersigned, do hereby enter my appearance on the complaint issued in the above entitled
cause.

I have been informed of my right to trial by jury or by the Court, all associated rights, and the
possible penalties upon a plea of guilty.

Knowing these rights and the possible penalties for the offense, I do hereby waive my right to
trial by jury or before the Court, and I do hereby PLEAD GUILTY TO THE OFFENSE OF

                              BeJr[er1                Dr,\11'aj
People of the State of Illinois, Plaintiff         IN THE CIRCUIT COURT OF THE 15TH JUDICIAL CIRCUIT                                           Case Number:
                                                             STEPHENSON COUNTY,        0
                          vs.
                                                    THE DEFENDANT HAVING BEEN FOU    PLEADED    ILTY OF THE
                                                     OFFENSE DESIGNATED BELOW, BE AND I ·    Y SENTENCED                                                           C:+.,   1
                                                    UNDER THE TERMS AND CONDmONS STATED BELOW; PROVIDED
                                                                                                                                          SENTENCING ORDER
                  Defendant                         THAT ANY VIOLATION OF SAID CONDmONS MAY RESULT IN THE
                                                         MODIFICATION OR REVOCATION OF THISSENTENCE:
OFFENSE      (Q_(},l,l_t S(                                                                             __
                                                                                                         la,__,9-
                                                                                                               '-----=--
                                                                                                                    S_          ILCS_~
                                                                                                                                     s-
                                                                                                                                      =----+-
                                                                                                                                           [            ~I1_- ~SU-~- -
COUNSEL        ....>
              _1     a... . . . .w.
                   ....          ._"""-').___ _ _ _ _ __             (ASSISTANT) STATE'S ATTORNEY             Le_ V)Y)      D-r-.      _.    Y--1 G ~
[l       CLASS                  FELONY
                                                                           TYPE OF SENTENCE:
                                                                                                                           ¥>        CLASS    ~          MISDEMEANOR



$                                                                                   [l
        Judgment of Conviction and a term of:                                               Withhold Judgment of Conviction and a term of:

        Probation (730 ILCS 5/5-6-2, 730 ILCS 5/5-6-3)                              [l      Court Supervision        [ ] Reporting

Il      Conditional Discharge (730 ILCS 5/5-6-2, 730 ILCS 5/5-6-3)                  [l       Drug Probation 720 ILCS         [ ] 550/10        I l 570/410
Il      Chapter 20 Probation (20 ILC5 301/40-10)                                    [l      Second Chance Probation (730 ILCS 5/5-6-3.4)

                                                                                [ ]     Offender Initiative Program (730 ILCS 5/5-ffiS.!l fl
[ ]     Judgment of Conviction: All monetary obligations to be paid in full by: _ _ _ _ _. If not paid the Defendant is t ~etUl!n.~~, ~0:00 am on


      of court.
Term of:                  d       y fl     r1l r /
                                           V'-' ' -                    To expire on:
                                                                                                              i
        that date. Failure to appear will result in the issuance of a warrant, failure to pay the amount owing may result in a finding of indir~tt<'.ivil contempt

                                                                                                   J
                                                                                       - - -'-'--+-~--'----1--~- Lj
                                                                                                                 __._____J_LJ_L__-....,.7---"2'"g'-,_.,2?,....._____
                                                           STANDARD TERMS OF SENTENC (IF CHE KEO}
[X) Not violate any criminal statutes of any                 [X] Notify the Probation Dept. of a new address             [X] Coopera~iij? Sijc~es~u~~Y complete any
    jurisdiction.                                                within one business day of moving.                          ordered,~ u ~ ~~~ n t and sign
[X] Report to and personally appear before the               [X] Not leave the state without consent of the                  releases of informa'tlBri<oose.f#ing to
    Probation Officers of this Court immediately on              Court, written permission of the Probation                  disclosure of counseling information to the
    this date or upon release from custody and as                Dept. and the transfer to another state is                  Court and the Probation Dept.
    often as required thereafter.                                subject to acceptance by the receiving state.             ] Pay fine/costs in the following cases:
[X] Not possess any firearm or dangerous weapons.            [XI Comply with all Probation and Stephenson
[X] Permit home visits and other Probation Officer               County Jail Regulations and participate in the
    inquiries to discharge their duties.                         Probation Dept's administrative sanction
                                                                 program.

                                                           REHABILITATIVE AND PROTECTIVE MEASURES
~     thin 30 days, engage in and/or successfully            Wot use ~         lcohol,'{,,d)illegal drugs [ ] cannabis     ] The Defendant shall have no contact w ith
                                                                                                                             and/or stay away from the property at:
    complete evaluations and/or treatment:                        or cannabis related products, submit to random
    [ ] Drug [ ] Alcohol [ ] Anger Management                     testing at the discretion of the Probation Dept.
    [ ] Mental Health I ] PAIP ~    UI                            by furnishing a urine sample and/or breath sam-
    and provide proof of successful completion to                 ple upon demand, and pay $10 fee per test.
    the Probation Dept.                                     '1£'.lkomplete a DUI impact program online and pro-
[ ) Upon the request of the Probation Dept.,
    provide proof of:
                                                                  vide proof to Probation by:     9)
                                                             I ] Perform --,---hours of pu~lic set ,ce
                                                                                                           1Jz {...
    [ I Employment I ] Maintain a job diary                       work to be administered by the Probation Dept.
    [ ) Course of study or vocational training                    All Hours are to be completed by _ _ _ __
    [ ) Obtain GED [ ) Job Readiness Program
    [ ] Thinking for a Change
                                                                               INCARCERATION:
 [ ] The defendant is ordered to serve _ _ _ _days [ ] imprisonment with credit for _ _ _ _ _days served for each day of presentence imprisonment credit.
      [ ) With day for day credit. [ ] Without day for day credit.
 [ ) Beginning on _ _ _ _ _ _ _at _ _ _ _ _ [ ] Periodic imprisonment for the period of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 [ ) Work release beginning _ _ __ ___ at _ _ _ _ _ _ _ _ _ _(Defendant shall report to Probation and follow all work release rules and pay any
      required fees).
 [ ] _ _ _ Days stayed pending compliance and a jail status hearing will be held on._ _ _ _ _ _ _ at_ _ _ _ _ . DEFENDANT IS TO APPEAR IN COURT AT
      THAT TIME and jail will commence immediately thereafter unless it is again stayed by the court.

    Other Con ditions:


                                                                                                                   DEFENDANT.


  ENTERED:                      t:.ir 7
       ve received a copy of this rder, w~ I read it and comply with its terms.
                           r f.,-                2......                    JUDGE:
 IT IS A CONDITION OFIS ORDER THAT THE DEFENDANT PAY ALL FINANCIAL OBLIGATIONS ASS
 ORDER ENTERED THIS DATE WHICH IS INCORPORATED HEREIN BY REFERENCE.
      STATE OF ILLINOIS,
            CIRCUIT COURT
                                                FINANCIAL SENTENCING ORDER
     STEPHENSON COUNTY

                                                                                                                JUL - 7 2022
     THE PEOPLE OF THE STATE OF ILLINOIS,




     Defen                                                                                                   Ca
The Defendant                                            urt and         pied guilty    D    was found guilty of the followin
 Count:                                                                                                                  Fine
In addition to any other sentences imposed in the case, the Defendant is ordered to pay the following fines, fees, and
 assessments:

1.     Fines (705 ILCS 105/27.3B-1 and 730 /LCS 5/5-4.5-5 sets forth the minimum fine):

a.     Count:_        Offense:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____;_;Fi""n=e:' -=---
b.     Count:         Offense :_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,F-"in=e=:-=----
c.     Count:_        Offense: _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____;_;
                                                                                Fi=n=e: ~ - -

                                                                                                        Total Fine(s)          $_ _ __

2.     Fine Credits:            Credit for time served:      _J_          days x    $2{)_ per day credit:                      $(   3 C)
                                                           A) Subtotal -- Balance of fines less fine credit(s): $                   1, d ~   0
3.     Criminal Assessment (check the highest class offense only)


       a.     D   Schedule 1, Generic Felony (705 ILCS 135/ 15-5) ............ ... ........................... $549
       b.     0   Schedule 2, Felony DUI (705 ILCS 135/15-10) ................ .... .................. . ..............$1709
       c.     D   Schedule 3, Felony Drug Offense (705 ILCS 135/15-15) ... ... ... ... .... ........ ......... $2,215
       d.     D   Schedule 4, Felony Sex Offense (705 ILCS 135/15-20) ... .... .. .... .. ................. ....... ... $1314
       e.     D   Schedule 5, Generic Misdemeanor (705 ILCS 135/15-25) ............................... $439
       f.     ~chedule 6, Misdemeanor DUI (705 ILCS 135/15-30) ....... .. .... ....................... ........ $1381
       g.     D   Schedule 7, Misdemeanor Drug Offense (705 ILCS 135/15-35) .................... .... $905
       h.     D   Schedule 8, Misdemeanor Sex Offense (705 ILCS 135/15-40) ............................ ..... $1184
       i.     D   Schedule 9, Major Traffic Offenses (705 ILCS 135/ 15-45) ........................ . ...... $325
       j.     D   Schedule 10, Minor Traffic Offenses (705 ILCS 135/15-50) ....... ..............................$226
       k.     0   Schedule 10.5, Truck Weight/ Load Offense (705 ILCS 135/15-52) ........ .... .. .... .$260
       I.
       m.
              D
              D
                  Schedule 11 , Conservation Offense (705 ILCS 135/ 15-55) ............. ......... ...... ......... $195
                  Schedule 13, Non-Traffic (705 ILCS 135/15-65) .............. . .................... .... ...... $100 $            'I 3   tcJ)
                                                           B)    Subtotal - Criminal / Traffic Assessment:
 4.         Conditional Assessment (check all that apply)

       a.     D   Arson/residential arson/aggravated arson (705 ILCS 135n0(1 )) ........ $500 for each conviction:             $ _ _ __
       b.     D   Child Pornography (705 ILCS 135/15-70(2))...................... .. ... ..... .$500 for each conviction:      $ _ _ __
       c.     D   Crime lab drug analysis fee (705 ILCS 135/15-70(3)) ............... ............ .......................$100 $ _ _ __
       d.     □ DNA analysis (705 ILCS 135/15-70(4)).....................................•..............................$250   $ _ _ __
                                                                      Page 1 of 2
                                                                                       Case Number~ \ -             \Jt - )O:t
      e.     0   DUI analysis (705 ILCS 135/15-70(5))..................................................................... $150 $ _ _ __
      f.     D   Drug-related offense, possession/delivery (705 ILCS 135/15-70(6) ......................Street Value $ _ _ _ __
      g. D       Methamphetamine offense, possession/manufacture (705 ILCS 135/15-70(7)....... Street Value $ _ _ __
      h. D       Order of protection violation (705 ILCS 135/15-70(8) ........... . ......... ... $200 for each conviction $ _ _ __
      i.     D   Order of protection violation (705 I LCS 135/15-70(9) ..................... .... $25 for each conviction         $ _ _ __
      j.     D   Speeding in a construction zone (705 ILCS 135/15-70(11 )) ......... ......... .......................$250        $ _ _ _ __
      k.     D   Supervision disposition under IL Vehicle Code (705 ILCS 135/ 15-70(12). .. ....................$ .50             $ _ _ __
      I.     D   Listed offenses against family/household member (705 ILCS 135/70(13) $200 per conviction                         $ _ _ __
      m.     D   EMS response reimbursement, vehicle/snowmobile/boat (705 ILCS 135/70(1 4) ...... up to $ 1000 $ _ _ _ __
      n.     D   EMS response reimbursement, controlled substance delivery (705 ILCS 135/70(15) ........ $1000 $ _ _ _ __
      o.     D   EMS response reimbursement, reckless/agg reckless driving/ speeding 26 mph over
             705 ILCS 135/70(16) ....................................................... ................................up to $1000 $ _ _ __
      p.     D Weapons violation of 24-1.1 , 24-1.2, 24-1 .5 (705 ILCS 135/70(18))........... .$100 per conviction                $ _ _ _ __


                                                               C) Subtotal - Conditional Assessments:                             $ _ _ __

 5.        Other Assessments
      a.     D   Restitution total (see Restitution Order for specifics) ........ .. ....... ...... ....... ................ .    $ _ _ __

      b.     D   Public Defender assessment                    f                                                                  $ _ _ __


      ::1 :::7;';.:d•,o••ss;;•;:;~~~= ~~~;;~□.~~~;;~~;~ta;.... ········· .....                                                    $_J,g.G_
                                                                                                                                  $;J,':f:lJ
      e.         $10 to the   D Stateline Area Crime Stoppers IQ_ Tyler's Justice Center..................... .                   $   \0
      f. D       Warrant fees of $_ _ _ + $ subpoena fees of$_ _ _+ transport fees of $ _ __                                      $ _ _ _ __

      g. D       An assessment of $_ _ _ for_ __ _ _ _ _ _ __ _ _ _ _ _ __                                                        $ _ _ __


                                                               D) Subtotal - Other Assessments:                                   $~            3tS-
                                                                     A)   Balance of fines less fine credit(s):
                                                                     B)   Criminal / Traffic Assessment:
                                                                     C)   Conditional Assessments:
                                                                     D)   Other Assessments:
                                                                                                                         Total:


 6.        Bond posted: __    3?
                              __"°___ minus 10% bond fee_ _ _:5_--::>
                                                                __= Bond available:

                                              Total balance of all fines and assessments minus bond:


                                              ~o~
                                                                                                  Companion Case                  $ _ _c,=--

,,, \-\c.W ._,\\"                    (ci
THE COURT ORDERS THAT THE D                              SHALL PAY THE CIRCUIT CLERK THE FOLLOWING AMOUNT:
THIS AMOUNT IS DUE BY _.....__,__._+=-=----if---,...,.-::-- and is payable in the following manner: cash, outside drop box or by mailing a
money order, cashier's check or erti 1ed eek (NO personal checks) to: Stephenson County Circuit Clerk, 15 N Galena Ave 2 nd
Floor, Freeport, IL 6 1032 or payl°n~ine @ www.ALLPAID.COM PLC: 4052.


_ _ The amount due and owin;fs :!:tce~~ ~v~u~menf                                  ~           I {"?f-1 'L    ~
I am the defendant in the above case and I have read and understand this Financial Sentencing Order. Additionally, I agree that if the clerk's office
detennines that there was a math error that has occurred in the addition or subtraction of the amounts listed in this Order, the Court has my
pennission and consent to make the necessary corrections to this Financial Order so as to correct any errors in calculation without the necessity of
bringing the case back into court. If such a correction is made, the clerk's office shall send me a corrected Financial Senten ·ng Order.




II ;,soo,dera~                                                      Judge
                                                                            Page 2 of 2
                         STATE OF ILLINOIS
      IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                        STEPHENSON COUNTY

     People of the State of Illinois
                                                 PETITION TO REVOKE Probation
                    vs                               DOCKET NO. 21DT104

 Rashaun T. Carter

              TO THE HONORABLE JAMES HAUSER OF SAID COURT:

       NOW comes Ryan Shaner, Asst. State's Attorney in and for Stephenson
County, Illinois, and states to the Court that the above named defen dant was
convicted of the offense of RECKLESS DRIVING on 7/7/2022. Whereas this Court
entered its Order sentencing the defendant to a term of Probation to terminate on
7/7/2024 to the Probation Department and that the terms and conditions of said
Probation are set forth in a written order filed herein. That the defendant did violate
the terms of Probation in that she/he did on or about the date of9/26/2022.
1) Defendant failed to complete a DUI assessment within 30 days as ordered by
the courts.
2) Defendant failed to complete the Victim Impact Panel by 9/7/22 as ordered
by the courts.
       WHEREFORE your Petitioner prays that this Court enter it s Order revoking the
Probation of the defendant, or it's Order for the punishment of the defendant for
violation of the terms of his/her probation.


                                                           ~                       ttomey
STATE OF ILLINOIS
STEPHENSON COUNTY

Carl Larson, Steve Biagi and Ryan Shaner, Tom Madigan, Shiva Lennon Rios
being first duly sworn on oath, deposes and says that she/ he has read the foregoing
Petition by her /him subscribed, and that the statement          d therein are true.



Subscrib~ and sworn to before me
this 2fo    day September, 2022


_cl
 - - "'_.,._~_~-~-~-~- --- -         Notary Public

                                                                           IFDIL!Elt»
                                                                          STEPHENSON COUNTY, IL




                                                                           SEP 2 7 2022

                                                                          ~~
                                                                         CLERK OF THE CIRCUIT COURT
